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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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. AFFIRMATION IN SUPPORT
UNITED STATES OF AMERICA : OF AN EXTENSION OF THE
ORDER OF CONTINUANCE
_ V_ _
18 Mag. 8861
NATALIE MAYFLOWER SOURS EDWARDS,
a/k/a “Natalie Sours,”
a/k/a “Natalie May Edwards,”
a/k/a “May Edwards,”

Defendant.

STATE OF NEW YORK )
COUNTY OF NEW YORK : SS.:
SOUTHERN DISTRICT OF NEW YORK )

DANIEL C. RICHENTHAL, pursuant to Title 28, United
States Code, Section 1746, hereby declares under penalty of
perjury:

l. I am an Assistant United States Attorney in the
Office of Geoffrey S. Berman, United States Attorney for the
Southern District of New York. I submit this affirmation in
support of an application for an order of continuance of the
time within which an indictment or information would otherwise
have to he filed, pursuant to Title 18, United States Code,
Section 3161(h)(7)(A).

2. NATALIE MAYFLOWER SOURS EDWARDS, a/k/a “Natalie

Sours,” a/k/a “Natalie May Edwards,” a/k/a “May Edwards,” the

defendant, was arrested on October 16, 2018, and Charged in a

 

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complaint, dated October 16, 2018, with violations of Title 18,
' United States Code, Section 371, and Title 31, United States
Code, Section 5322. The defendant, who arrested in the Eastern
District of Virginia, was presented before a Magistrate Judge
the following day, and was ordered released on certain
conditions. At the initial presentment on October 17, 2018,
then-counsel for the defendant consented to a waiver of his
client's right pursuant to Rule 5.1 of the Federal Rules of
Criminal Procedure to a preliminary hearing within 21 days of
the initial appearance.

3. On November 2, 2018, the defendant appeared in this
district before Magistrate Judge Sarah Netburn, and was ordered to
remain on release subject to Certain conditions. At the same
appearance, counsel for the defendant consented to a waiver of his
client’s right pursuant to Rule 5.1 of the Federal Rules of
Criminal Procedure to a preliminary hearing within 21 days of the
initial appearance, and specifically consented to have such a
hearing date Set no sooner than 30 days from the date of her
appearance in this district. Accordingly, the Government had
until December 3, 2018 to file an indictment or information against

the defendant. On or about December 3, 2018, the Government's

 

 

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application, on consent, for an order of continuance for 30 days
was granted.

5. Marc A. Agnifilo, Esq., counsel for the
defendant, and counsel for the Government have had discussions
regarding a possible disposition of this case. The discussions
have not been completed, and we plan to continue, but do not
anticipate a resolution before the deadline under the Speedy
Trial Act expires on January 2, 2019, in light of, among other
things, the recent holidays and other commitments.

6. Therefore, the Government is requesting a 30eday
continuance until February 1, 2019, to continue the foregoing
discussions and reach a potential disposition. Counsel for the
defendant has consented to this request on behalf of his client.

6. For the reasons stated above, the ends of justice
served by the granting of the requested continuance outweigh the
best interests of the public and defendant in a speedy trial.

I declare under penalty of perjury that the foregoing
is true and correct, pursuant to 28 U.S.C. § 1746.

Dated: New York, New York
January 2, 2019

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Daniel C. Richenthal
Assistant United States Attorney
(212) 637~2109

 

 

 

